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                           UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION

In re:                                            )            Chapter 7
                                                  )
TINA JOHNSON,                                     )            Case No. 17-82868
                                                  )
               Debtor.                            )            Judge Thomas M. Lynch


            NOTICE OF HEARING ON THE UNITED STATES TRUSTEE’S
              MOTION TO COMPEL PRODUCTION OF DOCUMENTS

      The United States Trustee has filed a motion for the entry of an order compelling the debtor’s
attorney to produce certain documents and other information. A copy of the motion is attached.

      Your rights may be affected. You should read the motion papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one.)

       If you do not want the court to enter an order granting the relief requested, or if you want the
court to consider your views on the motion, then you or your attorney must:

    Attend the hearing scheduled for Wednesday, February 14, 2018, at 9:30 a.m. or as soon
thereafter as counsel may be heard at the United States Bankruptcy Court for the Northern District
of Illinois, Stanley J. Roszkowski United States Courthouse, 327 South Church Street, Room 3100,
Rockford, Illinois 61101.

       If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief.

Dated: February 9, 2018                                Respectfully submitted,

                                                       PATRICK S. LAYNG
                                                       United States Trustee

                                                By:      /s/ Debra L. Schneider
                                                       DEBRA L. SCHNEIDER
                                                       Attorney for the United States Trustee
Office of the United States Trustee
780 Regent Street, Suite 304
Madison, Wisconsin 53715
(608) 264-5522, extension 5645
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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
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In re:                                             )            Chapter 7
                                                   )
TINA JOHNSON,                                      )            Case No. 17-82868
                                                   )
                 Debtor.                           )            Judge Thomas M. Lynch


                  MOTION TO COMPEL PRODUCTION OF DOCUMENTS

          The United States Trustee for the Northern District of Illinois, Western Division, Patrick S.

Layng, respectfully requests that this Court enter an order directing Michael Burr, the debtor’s attorney

in this case, to produce certain documents and information to the United States Trustee, pursuant to

Federal Rule of Bankruptcy Procedure 2004. In support of this motion, the United States Trustee

states as follows:

         1.      The debtor, Tina Johnson (“the Debtor”), filed a voluntary petition under Chapter 7

of Title 11 of the United States Code on December 5, 2017. The Debtor is represented by

Attorney Michael Burr of Fairmax Law.

         2.      On January 19, 2018, the United States Trustee filed a motion to compel Attorney

Burr to file his fee agreement with the Court pursuant to Local Rule 2016-1. The hearing on the

United States Trustee’s motion was scheduled for January 31, 2018.

         3.      On January 30, 2018, in response to the United States Trustee’s Motion to Compel,

Attorney Burr filed a copy of his fee agreement with the Court pursuant to Local Rule 2016-1.

Doc. 28. The information in the agreement raised additional questions.




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      4.       On January 31, 2018, the Court heard the United States Trustee’s motion to compel

the filing of the fee agreement. Attorney Burr did not appear at the hearing.    The information in

the agreement that Attorney Burr filed raised additional questions for both the United States Trustee

and the Court; therefore, the Court set the matter over to February 14, 2018, at 9:30 a.m. for a

continued hearing on the fee agreement.

      5.       Following the hearing on January 31, 2018, a member of the United States Trustee’s

staff e-mailed Attorney Burr and asked for additional documents relating to the fees charged in this

case. Specifically, the United States Trustee requested that within five days, Attorney Burr provide

any and all fee agreements between his firm, the Debtor, and the factoring facility referenced in the

Rule 2016(b) disclosure, time records for him and his staff, and a record of all payments made by or

on behalf of Ms. Johnson.

      6.       That same day, the undersigned e-mailed Attorney Burr separately and advised him

that the Court had continued the hearing on the United States Trustee’s Motion to Compel

Compliance with Local Rule 2016-1 to February 14, 2018, at 9:30 a.m. as the Court and the United

States Trustee had additional questions concerning his fee agreement. The undersigned also asked

that Attorney Burr provide the additional requested documents promptly to allow sufficient time to

review them prior to the continued hearing date of February 14, 2018.

      7.       Having received no response, a member of the United States Trustee’s staff again

e-mailed Attorney Burr on February 7, 2018, asking about the status of the documents.

Notwithstanding these communications, Mr. Burr has not contacted the United States Trustee, has

not provided any of the requested documents to the United States Trustee, and has not filed

additional disclosures with the Court.



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      8.       Section 329 of the Bankruptcy Code allows a bankruptcy court to examine

compensation arrangements between debtors and their attorneys. Without the additional requested

documents, the United States Trustee is unable to calculate the amounts paid to Attorney Burr or

determine whether the fees received exceed the reasonable value of the services he rendered.

      9.       Because Attorney Burr has failed to provide the documents despite repeated

requests, the United States Trustee respectfully requests that this Court enter an order compelling

him to provide the requested documents within seven days of the date of the Court’s order.

      For the reasons set forth above, the United States Trustee respectfully requests that this Court

enter an order requiring the Debtor’s attorney, Michael Burr, to provide the United States Trustee

with any and all fee agreements between his firm, the Debtor, and the factoring facility, time records

for him and his staff, and a record of all payments made by or on behalf of Ms. Johnson, and for

any further relief as the Court may deem appropriate.

Dated: February 9, 2018                        Respectfully submitted,

                                               PATRICK S. LAYNG
                                               United States Trustee


                                       By:      /s/ Debra L. Schneider
                                               DEBRA L. SCHNEIDER
                                               Attorney for the United States Trustee

Office of the United States Trustee
780 Regent Street
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 9, 2018, a copy of the United States
Trustee’s Notice of Motion and Motion to Compel were served via CM/ECF on the following
parties:

       Michael Burr            mburr@fairmaxlaw.com, paralegal2@fairmaxlaw.com
       James E Stevens         jimstevens@bslbv.com, IL48@ecfcbis.com


and by first class mail on February 9, 2018 to:

None.


                                                  /s/ Maureen Gaber
                                                  Maureen Gaber
                                                  Paralegal Specialist




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